Case 2:97-cr-20237-.]PI\/| Document 176 Filed 07/15/05 Page 1 of 3 Page|D 78
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE ;PP“/
WESTERN DIVISION Fti_ 53 -5’ D- C

05 JUL 15 PH 21 08

 

UNITED sTATEs 01= AMERICA ) cR. Nos 97 26234_ h “`
) §§235 oppeth
Plai““'ff' ) 97- 26236‘_ 1‘5“ 5'
) M/
vs ) 97-20233-1\/11
) 97_20239-1\/11
EDDIE JETER ) 97-20240-M1
) 97_20241-1\/11
Defendant. )
oRDER To sURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

EN_TERED this the 65 day of July, 2005.

c1066 O.Q!L

PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compliance

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Case 2:97-cr-20237-.]PI\/| Document 176 Filed 07/15/05 Page 2 of 3 Page|D 79

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UNITED STATES DISTRICT COURT - WESTE DI'S'TRICT OF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 176 in
case 2:97-CR-20237 Was distributed by faX, mail, or direct printing on
July l5, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

